Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 1 of 14 PageID# 1052




                              EXHIBIT B




                                      2
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 2 of 14 PageID# 1053
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 3 of 14 PageID# 1054
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 4 of 14 PageID# 1055
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 5 of 14 PageID# 1056
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 6 of 14 PageID# 1057
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 7 of 14 PageID# 1058
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 8 of 14 PageID# 1059
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 9 of 14 PageID# 1060
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 10 of 14 PageID# 1061
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 11 of 14 PageID# 1062
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 12 of 14 PageID# 1063
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 13 of 14 PageID# 1064
Case 1:19-cr-00253-MSN Document 248-2 Filed 04/07/20 Page 14 of 14 PageID# 1065
